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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTINCT OF VIRGINIA                        CLERK. U.S.l-
                                                                                          nor;
                                         Norfolk Division


UNITED STATES OF AMERICA                                 )
                                                         )   Criminal No. 2:23-cr-
               V.                                        )
                                                         )   18 U.S.C.     1344 and 2
CRISTIAN RISTEA,                                         )   Bank Fraud
                                                         )   (Count 1“3)
               a/k/a “Christan Weber                     )
                                                         )   18 U.S.C. § 1028A
                       Defendant.                        )   Aggravated Identity Theft
                                                         )   (Counts 4-5)
                                                         )
                                                         )   18 U.S.C. § 1029(a)(3)
                                                         )   Possession of Fifteen or More
                                                         )   Counterfeit or Unauthorized
                                                         )   Access Devices
                                                         )   (Count 6)
                                                         )
                                                         )   18 U.S.C. § 982(a)(2)
                                                         )   Criminal Forfeiture




                                          INDICTMENT


                           November 2023 Term - Al Norfolk, Virginia

THE GRAND JURY CHARGES THAT:


                                  GENEIUVL ALLEGATIONS


At all times material and relevant to this indictment:


        1.     From at least in or about August 2023, the earliest time being unknown,

CRISTIAN RISTEA, defendant herein, installed and maintained portable card reading devices

("skimming devices’") inside ATM machines within the Eastern District of Virginia.

       2.      Skimming devices read and record the infomiation encoded on the magnetic strip

of all access devices used al the targeted ATM machines by legitimate customers during the

period in which such devices arc affixed to those card-reading apparatuses. Such information
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includes, but is not limited to, personal identification and financial information such as bank,

credit, and debit card account information, including the corresponding custody Personal

Identification Number (“PIN"’) access codes as they are entered by legitimate customers in the

course of transactions at ATM locations.


                                    COUNTS ONE- THREE
                                           (Bank Fraud)

       3.      Paragraphs 1 through 2 of the General Allegations section of this Indictment are

incorporated by reference as though fully set forth herein.

       4.      From at least in or about August 2023, the earliest time being unknown,

CRISTIAN RISTEA, defendant herein, and others unknown, for the purpose of executing and

attempting to execute a scheme and artifice to defraud and to obtain money, funds, credits.

assets, securities owned by and under the custody and control of a financial institution as defined

under Title 18, United States Code, Section 20, by means of materially false and fraudulent

pretenses, representations and promises in violation of Title 18, United States Code, Section

1344. This scheme and artifice operated in substance as follows;

                                  PURPOSE OF THE SCHEME


       5.      The purpose of the scheme and artifice to defraud was for RISTEA and others

unknown, to obtain money to which he was not entitled to by installing skimming devices,

obtaining victims’ personal identification and financial infoiTnation, and using the personal

identification and financial information to obtain money, funds, credits, assets, and securities


owned by and under the custody and control of the victims’ respective financial institutions.




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                                 WAYS. MANNER. AND MEANS


       The ways, manner, and means by which RISTEA carried out the scheme and artifice to

defraud included, but were not limited to, the following:

       6.      RISTEA and others used the recording, acquisition, transfer, and use of means of

identification and financial information belonging to other individuals and entities in order to

obtain United States currency from financial institutions and other entities and other benefits,

from entities and individuals.


       7.      RISTEA and others fraudulently obtained the personal identification and financial

information of various individuals and entities, including bank, credit, and debit card account

information and PIN access codes, without the consent of such individuals and entities, by

various means, including the installation of skimming devices at ATMs of financial institutions

within the Eastern District of Virginia and elsewhere.

               RISTEA and others used such personal identification and financial information to

obtain unauthorized access to the bank, credit, and debit card account information of other

individuals and entities by, among other things, re-encoding account numbers, including but not

limited to ATM and debit account numbers, onto the magnetic strips of other cards, and then

using such re-encoded cards in combination with the corresponding PIN access codes to make

unauthorized withdrawals and transfers from the bank accounts and credit accounts of other


individuals and entities, thereby compromising such accounts and withdrawing and otherwise

transferring funds and credit to the benefit of the defendant and others.

       9.      RISTEA used the personal identification and financial information recorded by

the skimming devices installed and maintained by defendant and others at ATM locations within

the Eastern District of Virginia and elsewhere.



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        10.    RISTEA traveled to and through, the Eastern District of Virginia from locations

outside the Commonwealth of Virginia in furtherance for purposes of executing, attempting to

execute, and continuing the scheme and artifice.

        11.    On or about the dates and in the manner set forth below, CRISTIAN RISTEA,

and others unknown, aided and abetted by one another and others, did knowingly and

intentionally for the purpose of executing the aforesaid scheme and artifice to defraud and to

obtain moneys, funds, credits, assets, securities owned by and under the custody and control of

the following financial institutions, each of which qualifies as a financial institution as defined

under Title 18, United States Code, Section 20, by means of materially false and fraudulent

pretenses, representations, and promises, and attempted to do so.

    Count                Date               Financial Institution        Description/Purposc of
                                                                               Transaction
     ONE        August 9, 2023           BayPort Credit Union           RISTEA and others used
                                                                        information of D.J. to
                                                                        make an unauthorized cash
                                                                        withdrawal of
                                                                        approximately $500 at an
                                                                        ATM in Hampton,
                                                                        Virginia.
    TWO         August 9, 2023           BayPort Credit Union           RISTEA and others used
                                                                        information of J.B. to
                                                                        attempt to make an
                                                                        unauthorized withdrawal
                                                                        of approximately $360, at
                                                                        an ATM in Hampton,
                                                                        Virginia
   THREE        August 17, 2023          Bank of America                RISTEA and others used
                                                                        information of V.P. to
                                                                        make an unauthorized
                                                                        withdrawal of
                                                                        approximately $140, at an
                                                                        ATM in Chesapeake,
                                                                        Virginia


       (All in violation of Title 18, United States Code, Sections 1344 and 2.)


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                                             COUNTS FOUR-FIVE
                                           (Aggravated Identity Theft)

        12.      Paragraphs 1 through 2 of the General Allegations section of this Indictment are

incorporated by reference as though fully set forth herein.

        13.      On or about the dates and in the manner set forth below, in the Eastern District of

Virginia and elsewhere, the defendant, CRISTIAN RISTEA, did unlawfully, knowingly and

intentionally, transfer, possess, and use, without lawful authority, a means of identification of

another person, during and in relation to a felony violation of provisions contained in Chapter 63

of Title 18 of the United States Code, to wit: Bank Fraud, in violation of Title 18, United States

Code, Section 1344.


Count         Date (on or   Means of            Description/Purpose of            Felony
                about)      Identification      Transaction                       Violation(s)


FOUR          August 9,     Access Device       Defendant used the access         18U.S.C. § 1344
                 2023       Number of           device number (last four digits   (ref Count 1)
                            D.J. (last four     7431) of D.J. to make an
                            digits 7431)        unauthorized withdrawal of
                                                approximately $500 from a
                                                Bayport Credit Union account
                                                belonging to D.J.
              August 17,    Access Device       Defendant used the access         18U.S.C. § 1344
 FIVE            2023       Number of           device number (last four digits   (ref Count 3)
                            V.P). (last four    0773) of V.P. to make an
                            digits 0773)        unauthorized withdrawal of
                                                approximately $140 from a
                                                Bank of America account
                                                belonging to V.P.

(In violation of Title 18, United States Code, Sections 1028A(a)(l) and (c)(5) and 2.)




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                                          COUNT SIX
                          (Possession of Unauthorized Access Devices)

       On or about August 17, 2023, in the Eastern District of Virginia, and elsewhere, the

defendant, CRISl'IAN RISTEA, knowingly and with the intent to defraud, possessed at least

fifteen unauthorized access devices, to wit, over 500 credit and debit card numbers, card

verification numbers, and pin numbers, said possession affecting interstate and foreign

commerce in that those credit and debit cards were issued on behalf of iinancial institutions that


facilitate interstate and foreign commerce.

                (In violation of Title 18, United States Code, Section 1029(a)(3).)




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                                          FORFEITURE


        THE GRAND JURY FUR'FHER FINDS PROBABLE CAUSE THAT:

        1.     The defendant, if convicted of any of the violations alleged in Counts One

through Three and Six of this indictment, shall forfeit to the United States, as part of the

sentencing pursuant to Federal Rule of Criminal Procedure 32.2, any property constituting, or

derived from, proceeds obtained directly or indirectly, as the result of the violation.

        2.     The defendant, if convicted of either of the violations alleged in Count Six of this

indietment, shall forfeit to the United States, as part of the sentencing pursuant to Federal Rule of

Criminal Procedure 32.2, any personal property used or intended to be used to commit the

violation.


        3.     If any property that is subject to forfeiture above is not available, it is the intention

of the United States to seek an order forfeiting substitute assets pursuant to Title 21, United

Stales Code, Section 853(p) and Federal Rule of Criminal Procedure 32.2(e).

        (In accordance with Title 18, United States Code, Sections 982(a)(2) and 1029(c)(1)(C).)




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UNITED STATES V. CRISTIANRISTEA
Criminal No. 2:23cr \                                     Pursuant to the E*Govemraent .Act.
                                                         the original of this page has been Hied
                                                            under seal in the Clerk's Office.



                                          A TRUE BILL:


                                              REDACTED COPY


                                          FOREPERSON


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